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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-80173-CR-CANNON

     UNITED STATES OF AMERICA

    vs.

     WILLIAM MICHAEL SPEARMAN,

                                   Defendant.
    - - - - - - - - - - - - - - - -I
                                          PLEA AGREEMENT

           The United States Attorney's Office for the Southern District of Florida ("this Office") and

    William Michael Spearman (hereinafter referred to as the "defendant") enter into the following

    agreement:

           1.      The defendant agrees to plead guilty to the following counts of the Second

    Superseding Indictment: Count 3, which charges the defendant with engaging in a child

    exploitation enterprise, in violation of Title 18, United States Code, Section 2252A(g).

           2.      This is a conditional plea. Pursuant to Federal Rule of Criminal Procedure 11 (a)(2),

    this office consents to the defendant's entry of a conditional plea of guilty and reservation of his

    right to seek appellate review only of the district court's denial of is motion to suppress evidence

    (Docket Entry 146).     The defendant's motion alleged the warrantless seizure of his Internet

    Protocol address (IP address) and sought to suppress all physical evidence seized and statements

    as fruit of the poisonous tree as a result of the execution of a search warrant of his residence and

    person (Docket Entry 74). This office and the defendant agree that an order suppressing the

    subject evidence, or an appeal granting such relief, is case dispositive.

           3.      This office agrees to seek dismissal of Counts 1 and 2 of the Second Superseding
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    Indictment, as to this defendant, after sentencing.

            4.     The defendant is aware that the sentence will be imposed by the Court after

    considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

    "Sentencing Guidelines").     The defendant acknowledges and understands that the Court will

    compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

    will be determined by the Court relying in part on the results of a pre-sentence investigation by the

    Court's probation office, which investigation will commence after the guilty plea has been entered.

    The defendant is also aware that, under certain circumstances, the Court may depart from the

    advisory sentencing guideline range that it has computed, and may raise or lower that advisory

    sentence under the Sentencing Guidelines. The defendant is further aware and understands that

    the Court is required to consider the advisory guideline range determined under the Sentencing

    Guidelines, but is not bound to impose a sentence within that advisory range, the Court is permitted

    to tailor the ultimate sentence in light of other statutory concerns, and such sentence may be either

    more severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts,

    the defendant understands and acknowledges that the Court has the authority to impose any

    sentence within and up to the statutory maximum authorized by law for the offense identified in

    paragraph 1 and that the defendant may not withdraw the plea solely as a result of the sentence

    imposed.

           5.      The defendant also understands and acknowledges that the Court must impose, as

    to Count 3, a minimum term of imprisonment of twenty (20) years and may impose a statutory

    maximum term of life imprisonment, followed by a term of supervised release of five (5) years up

    to life. In addition to a term of imprisonment and supervised release, the Court may impose a fine

    of up to $250,000. The Court may order forfeiture and must order restitution as outlined below.
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            6.        The   defeA&t forth~ u~st~s ;;~ ~cknowledges that, in addition to any
     sentence imposed under paragrap~ of this agreement, pursuant to 18 U.S.C. Section 3013, a

     special assessment in the amount of $100 will be imposed on the defendant. The defendant agrees

     that this special assessment shall be paid at the time of sentencing. If the defendant is financially

     unable to pay the special assessment, the defendant agrees to present evidence to this Office and

    the Court at the time of sentencing as to the reasons for the defendant's failure to pay.

            7.      The defendant further understands and acknowledges that, pursuant to Title 18,

    United States Code, Section 3014, a special assessment in the amount of $5,000 will be imposed

    on the defendant ifhe is not indigent and is pleading guilty, in Count 3, to an offense under Chapter

     110 (relating to sexual exploitation and other abuse of children). The defendant agrees that this

    special assessment shall not be payable until the defendant has satisfied all outstanding court-

    ordered fines, orders ofrestitution, and any other obligation related to victim-compensation arising

    from the criminal conviction, upon which this special assessment is based.

            8.      The defendant further understands and acknowledges that, pursuant to Title 18,

    United States Code, Section 2259A, a special assessment not to exceed $35,000 may be imposed

    for Count 3. The defendant understands that imposition of an assessment under this provision

    does not relieve him of, or entitle him to reduce, the amount of any other penalty by the amount of

    the assessment.

            9.      The defendant understands and acknowledges that, in addition to any sentence
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    imposed under paragrap~fthis agreement, pursuant to 18 U.S.C. §§ 2259 and 2259A, the Court

    shall order the defendant to pay restitution because he is pleading guilty to an offense under

    Chapter 110. The parties agree that any restitution ordered by the Court under 18 U.S.C. §§ 2259

    and 2259A, shall include defendant's total offense conduct.
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            10.     Pursuant to 18 U.S.C. § 3663A(a)(3), the parties agree that restitution is not limited

    to Count 3, the offense of conviction in this case. The defendant agrees to pay restitution to any

    victims identifiable prior to the imposition of sentence, including victims of dismissed counts,

    relevant conduct, and any charged or uncharged child pornography offenses, which represents the

    full amount of those victims' losses as that term is defined in 18 U.S.C. § 2259(b)(3). The

    defendant further agrees that restitution is due pursuant 18 U.S.C. § 3663A(c)(l), for offenses and

    identifiable victims who have suffered a physical injury or pecuniary loss other than those he is

    pleading guilty to, but nonetheless gave rise to this plea agreement.

            11.    The parties further understand and acknowledge that the amount of restitution the

    defendant will be ordered to pay will be calculated pursuant to 18 U.S.C. §§ 2259 and

    2259A. Specifically, the Court will first determine the full amount of each victim's losses that

    were incurred, or are reasonably projected to be incurred by the victim, as a result of the trafficking

    of child pornography depicting the victim. The parties understand and acknowledge that, once

    the full amount of the victim's losses is determined, the Court will then order restitution in an

    amount that reflects the defendant's relative role in the causal process that underlies the victim's

    losses, but which is no less than $3,000. The parties further understand and acknowledge that any

    individual victim's total aggregate recovery shall not exceed the full amount of that victim's

    demonstrated losses.

            12.    This Office reserves the right to inform the Court and the probation office of all

    facts pertinent to the sentencing process, including all relevant information concerning the offenses

    committed, whether charged or not, as well as concerning the defendant and the defendant's

    background. Subject only to the express terms of any agreed-upon sentencing recommendations

    contained in this agreement, this Office further reserves the right to make any recommendation as
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    to the quality and quantity of punishment.

           l 3.        The defendant is aware that the sentence has not yet been determined by the Court.

    The defendant also is aware that any estimate of the probable sentencing range or sentence that the

    defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

   the probation office, is a prediction, not a promise, and is not binding on this Office, the probation

   office or the Court. The defendant understands further that any recommendation that this Office

   makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

   on the Court and the Court may disregard the recommendation in ~~ntirety. »e ~d~ .

   understands and acknowledges, as previously acknowledged in paragraph               f   ~if;ve, that the

   defendant may not withdraw his plea based upon the Court's decision not to accept a sentencing

   recommendation made by the defendant, this Office, or a recommendation made jointly by the

   defendant and this Office.         This agreement does not bind this Office as to its sentencing

   recommendation.

           14.         Defendant agrees to forfeit to the United States voluntarily and immediately all of

   his right, title and interest to the following property which is subject to forfeiture pursuant to Title

   18, United States Code, Section 2253:

                  a. Lenovo ThinkPad Laptop, serial # PC-0DTEGP

                  b. Blue PNY 128 GB thumb drive, serial# 097902B887050

                  c. 4tb OneTouch external HDD, serial #NABR6R4T

                  d. 320 GB HOST hard disk drive, serial# YI GE9Y6L

                  e. Getac S400 Laptop, serial # RC439S0359

                  f.   Toshiba Satellite Laptop, serial # XC301289R

                  g. OCZ 960GB SSD, serial# Y5AB4045KIHU
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                     h. Strontium 128GB thumb drive, serial# AACM2W3BQC12UKKL

                     1.   SAMSUNG Galaxy S 1OE Cellular Phone, serial # R58M22E327F

                     J.   Scorpio Blue Western Digital HDD, serial# WD3200LPVT,

                     k. Red PNY Memory Stick, serial# 1740730F04511F27

                     I.   OCZ TRION150 Hard Drive, serial# Y5AB4045K1HU

                     m. Crucial Hard Drive BX200, serial# 1541F00DFE20

                     n. Cruzer Dial SanDisk 32gb thumb drive, SN: 4C53l001490422115294

       The defendant agrees that the above-listed assets represent: matter that contains a visual depiction

       of child pornography, which was produced, transported, mailed, shipped, or received in violation

       of Chapter 110 of Title 18 of the United States Code; or property used or intended to be used to

       commit, facilitate, or promote the commission of the offense as alleged in Count 3 of the Second

       Superseding Indictment.

               15.        Defendant further agrees to fully cooperate and assist the Government in the

       forfeiture of the listed property and to take whatever steps are necessary to pass clear title to the

       United States, including, but not limited to, the surrender of documents of title, execution of any

       documents necessary to transfer his interest in the above property to the United States, execution

       of a consent to forfeiture or other documents as may be needed to fully accomplish the forfeiture

       and vest title in the United States.     Defendant further knowingly and voluntarily waives the

       following rights as to property subject to forfeiture: (1) all constitutional, legal and equitable

       defenses to the forfeiture of the assets in any judicial or administrative proceeding; (2) any judicial

       or administrative notice of forfeiture and related deadlines; (3) any jeopardy defense or claim of

       double jeopardy, whether constitutional or statutory; (4) any claim or defense under the Eighth


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   Amendment to the United States Constitution, including any claim of excessive fine, to the

   forfeiture of the property by the United States; and (5) any right to appeal any order of forfeiture

   entered by the Court pursuant to this plea agreement. Defendant further understands that the

   forfeiture of the property shall not be treated as satisfaction or offset against any fine, restitution,

   cost of imprisonment, or any other penalty this court may impose on the defendant.

           16.    Defendant understands that by pleading guilty, he will be required to register as a

   sex offender upon his release from prison as a condition of supervised release pursuant to 18 U.S.C.

   § 3583(d). Defendant also understands that independent of supervised release, he will be subject

   to federal and state sex offender registration requirements, and that those requirements may apply

   throughout defendant's life. Defendant understands that he shall keep his registration current,

   shall notify the state sex offender registration agency or agencies of any changes to defendant's

   name, place ofresidence, employment, or student status, or other relevant information. Defendant

   shall comply with requirements to periodically verify in person defendant's sex offender

   registration information. Defendant understands that he will be subject to possible federal and

   state penalties for failure to comply with any such sex offender registration requirements.

   Defendant further understands that, under 18 U.S.C. § 4042(c), notice will be provided to certain

   law enforcement agencies upon defendant's release from confinement following conviction.

          17.     As a condition of supervised release, defendant shall register with the state sex

   offender registration in the state of Florida, and shall also register with the state sex offender

   registration agency in any state where defendant resides, is employed, works, or is a student, as

   directed by the Probation Officer. Defendant shall comply with all requirements of federal and

   state sex offender registration laws, including the requirement to update defendant's registration


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    information. Defendant shall provide proof of registration to the Probation Officer within 72

    hours of release from imprisonment.

            18.   This is the entire agreement and understanding between this Office and the

    defendant. There are no other agreements, promises, representations, or understandings.


                                                MARKENZY LAPOINTE
                                                UNITED STATES ATTORNEY



    Date:                                 By:




                                          By:
                                                        YNOLDS
                                                     AM CLAYMAN
                                                   AL ATTORNEYS, U.S. DEP'T OF JUSTICE



    Date:                                 By:

                                                ATTORNEY FOR DEFENDANT



    Date:                                 By:
                                                WILLIAM CHAEL~RMAN
                                                DEFENDANT




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